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                              UNITED STATES DISTRICT COURT


                                 DISTRICT OF SOUTH DAKOTA


                                      CENTRAL DIVISION



UNITED STATES OF AMERICA,                                        3:22-CR-30053-RAL
                                                                 3:19-CR-30I24-RAL
                         Plaintiff,
                                                                   SENTENCING
                                                               SCHEDULING ORDER
        vs.



DWIGHT BLACK SPOTTED HORSE,

                         Defendant.




       Defendant Dwight Black Spotted Horse appeared before Magistrate Judge Mark Moreno

for a change of plea hearing on October 13, 2022. Judge Moreno issued a Report and

Recommendation recommending that the Court accept Defendant's plea of guilty to Count I as

alleged in the Indictment in 22-30053, and has admitted the allegations in Paragraphs 1, 2, & 3 of

the Second Amended Petition to Revoke Supervised Release, Doc. 42, in 19-30124 For good

cause, it is hereby

       ORDERED that this Court adopts the Report and Recommendation, Doc. 24 in 22-30053,

Doc. 54 in 19-30124, the plea of guilty is accepted, and Defendant is adjudged guilty of Count I

as alleged in the Indictment in 22-30053, and accepts the admissions to the allegations in

Paragraphs I, 2,& 3 ofthe Second Amended Petition to Revoke Supervised Release, Doc. 42, in

19-30124 It is further
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       ORDERED that a combined modified presentence report be prepared and the draft shall be

filed by the Probation Office in CM/ECF using the Draft Presentence Report event by December

13, 2022. It is further

       ORDERED that any objection to the presentence report and notice of intent to seek a

departure by either the Government or the Defendant shall be filed by counsel in CM/ECF using

the Objections to Presentence Report event by December 27,2022. If counsel has no objections

to the presentence report, counsel should indicate such by using the Notice of No Objections to

Presentence Report event. It is further

       ORDERED that all letters ofsupport shall be filed by counsel in CM/ECF using the Sealed

Letter(s) of Support event by January 10,2023. All letters ofsupport shall be legibly scanned as

one document and not scanned as separate documents. It is further

        ORDERED that the final presentence report shall be filed by the Probation Office in

CM/ECF using the Final Presentence Report event by January 10, 2023. An addendum setting

forth any unresolved objections, the grounds for those objections, and the probation officer's

comments on those objections shall also be filed in CM/ECF using the Addendum to Final

Presentence Report event. It is further

        ORDERED that any Sentencing Memorandum and Motion for Departure or Variance shall

be filed in CM/ECF by January 17, 2023. It is further

        ORDERED that the sentencing bearing and any necessary evidentiary bearing regarding

sentencing shall be held on Tuesday, January 24, 2023 at 11:00 a.m., in the Courtroom of the

U.S. Courthouse in Pierre South Dakota.
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     DATED this 14th day of October, 2022.

                                       BY THE COURT:




                                       ROBERTO A. LANGE
                                       CHIEF JUDGE
